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IN 'I_`HE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNrrED sTATEs oF AMERICA ) tract _ 4_ 11CgUl?T
Piainu'ff, l
vs § CASE No. 2;03CR20405-M1
DANA LILLY l
Defendant. ))
)

     

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Dana Li]ly, having been sentenced in the above case to the custody of the Bureau

of Prisons and having been granted leave by the Coul“r to report to the designated facility, IS HEREBY

ORDERED to surrender to the Bureau of Prisons by reporting to FCI Memphis (SCP), 1101 John A.

Denie Road, Memphis, TN 38134 by 2:00 p.m. on *THURSDAY. MARCH J2F,_2006.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign

one copy of this Order in the proper Space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will

report as ordered to the facility named above

ENTERED this the Q| day of August, 2005

vault

 

J PHIPPS McCALLA

NITED STATES DISTRICT JUDGE

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ACKNOWLEDGEMENT

 

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, f'lne or both.

Signed:

 

Defendant

Date:

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:03-CR-20405 was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

L. Lee Harrell

HARRELL & HARRELL
110 Northwest Court Sq.
Trenton, TN 38382

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

